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                                                      THE HONORABLE JOHN C. COUGHENOUR
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                                  UNITED STATES DISTRICT COURT
 7
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE

 9   UNITED STATES OF AMERICA,                               CASE NO. CR20-0146-JCC
10                               Plaintiff,                  ORDER
11             v.

12   JESUS DANIEL LERMA-JARAS, et al.,

13                               Defendants.
14

15             This matter comes before the Court on Defendant Lionel Gonzalez-Torres’ unopposed
16   motion to continue trial until July 12, 2021 (Dkt. No. 32). 1 Having thoroughly considered the
17   motion and the relevant record, the Court hereby GRANTS the motion for the reasons explained
18   herein.
19             This case is related to two others, United States v. Rodriguez-Moreno, CR20-0136-JCC,
20   and United States v. Villasenor, CR20-0137-JCC, which collectively involve more than 20
21   defendants and, the Government alleges, multiple conspiracies to distribute controlled
22   substances. (See Unopposed Motion to Continue Trial at 2, United States v. Rodriguez-Moreno,
23   CR20-0136-JCC, Dkt. No. 107 (W.D. Wash. Oct. 16, 2020).) The Government’s investigation
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      Although the motion was formally filed on behalf of only Defendant Lionel Gonzalez-Torres
25   and is not signed by counsel for Defendant Jesus Daniel Lerma-Jaras, the motion represents that
     both Defendants “agree that this continuance is necessary,” (Dkt. No. 32 at 3), and both
26   Defendants have filed speedy trial waivers, (see Dkt. Nos. 33, 35).

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 1   involved hundreds of hours of surveillance, wiretaps of multiple cell phones, more than a dozen

 2   controlled buys, at least ten multi-kilo seizures of controlled substances, and searches of several

 3   vehicles, residences, and businesses. (Id.) The Government has already produced over 10,000

 4   pages of discovery, much of which is in Spanish, which requires defense counsel to work with

 5   interpreters. (Id. at 3.)

 6           In addition, over the past seven months, the COVID-19 pandemic has significantly

 7   impacted the Court’s operations. (See General Orders 01-20, 02-20, 07-20, 08-20, 11-20, 13-20,

 8   15-20 each of which the Court incorporates by reference.) Specifically, the pandemic has
 9   rendered the Court unable to obtain an adequate spectrum of jurors to represent a fair cross
10   section of the community and public health guidance has impacted the ability of jurors,
11   witnesses, counsel, and Court staff to be present in the courtroom. (See generally id.)
12           Having thoroughly considered the briefing and the relevant record, the Court FINDS that
13   the ends of justice served by granting a continuance outweigh the best interests of Defendants
14   and the public to a speedy trial. See 18 U.S.C. § 3161(h)(7)(A). The reasons for this finding are:
15           1. Because of the Government’s allegation of multiple conspiracies and the volume of
16               evidence, this case is so complex that it is unreasonable to expect adequate
17               preparation for pretrial motions and trial within the current deadlines. See 18 U.S.C. §
18               3161(h)(7)(B)(ii).

19           2. In light of the volume of discovery, the failure to grant a continuance would deny

20               counsel for Defendants reasonable time necessary for effective preparation even if the

21               case were not complex. See 18 U.S.C. § 3161(h)(7)(B)(iv).

22           3. The COVID-19 pandemic has rendered the Court unable to obtain an adequate

23               spectrum of jurors to represent a fair cross section of the community, which would

24               likely make proceeding on the current case schedule impossible or would result in a

25               miscarriage of justice. See 18 U.S.C. § 3161(h)(7)(B)(i).

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 1         4. Public health guidance has impacted the ability of jurors, witnesses, counsel, and

 2             Court staff to be present in the courtroom. Holding a trial in compliance with public

 3             health guidance presents unique difficulties in this case due to the number of

 4             defendants, attorneys, and interpreters that would need to be in the courtroom.

 5             Therefore, proceeding with the current trial date would likely be impossible. See 18

 6             U.S.C. § 3161(h)(7)(B)(i).

 7   Accordingly, the Court ORDERS:

 8         1. The November 9, 2020 jury trial is CONTINUED until July 12, 2021.
 9         2. The October 8, 2020 pretrial motions deadline is CONTINUED until May 24, 2021.
10         3. The period from the date of this order until July 12, 2021 is an excludable time period
11             under 18 U.S.C. § 3161(h)(7)(A).
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13         DATED this 30th day of October 2020.




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                                                        John C. Coughenour
17                                                      UNITED STATES DISTRICT JUDGE
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